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                                  UNITED STATES DISTRICT COURT
                              FOR THE SOUTHERN DISTRICT OF FLORIDA


 GINA CHARLES,                                       )      Case No.
                                                     )
          Plaintiff,                                 )
                                                     )
                                                     )
 v.                                                  )
 GENERAL DYNAMICS                                    )     COMPLAINT FOR
 INFORMATION TECHNOLOGY, INC.                        )      EMPLOYMENT
                                                     )     DISCRIMINATION
                                                     )
          Defendant.                                 )      DEMAND FOR JURY TRIAL
                                                     )
 ______________________________                      )

                                                COMPLAINT

          PLAINTIFF, GINA CHARLES (“Plaintiff”), by and through her undersigned counsel,

 hereby     files      this   Complaint    against   the   DEFENDANT,         GENERAL        DYNAMICS

 INFORMATION TECHNOLOGY, INC. (“Defendant” or “General Dynamics”), and states:

                                               JURISDICTION

                1.            This Court has jurisdiction over this action arising under a federal question

   pursuant to 28 U.S.C. § 1331, which provides district courts with jurisdiction over civil actions

   arising under the United States Constitution or laws of the United States.

                2.            This is an action for employment discrimination in violation of the

   Americans with Disabilities Act of 1990, 42 U.S.C. § 12112.

                3.            Venue is proper pursuant to 28 U.S.C. § 1391(b). The acts and omissions

   giving rise to this action occurred in the Southern District of Florida, and Defendant conducts

   business and maintains facilities in South Florida and throughout the State of Florida.
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              4.        Plaintiff, Gina Charles, resides in Miami Gardens, FL, Miami-Dade

   County.

              5.        The Plaintiff has complied with all conditions precedent to the filing of

   this lawsuit, including, without limitations, filing charge of a charge of discrimination with the

   Equal Employment Opportunity Commission (EEOC) and receiving its Notice of Right to Sue

   on or about March 19, 2019. A true and correct copy of the EEOC Right to Sue is attached

   hereto as Exhibit “A”.

                                          BACKGROUND

              6.        Defendant is a large national company with well over 50 employees.

              7.        On or about March 1, 2015, General Dynamics hired Plaintiff as a fraud

   detection specialist, based on Plaintiff’s qualifications, unique skills, experience and education.

              8.        Over the course of approximately two years working uninterrupted for the

   Defendant, Plaintiff received multiple bonuses and raises in recognition of her exemplary work

   performance.

              9.        On or about June 27, 2016, Plaintiff was diagnosed with stage I breast

   cancer.

              10.       In or around July 2016, Plaintiff invoked her right to job-protected

   medical leave under the Family Medical Leave Act (“FMLA”).

              11.       Defendant recognized and granted Plaintiff’s request for medical leave.

              12.       In August 2016, Plaintiff underwent a bilateral mastectomy.

              13.       In October 2016, Plaintiff began chemotherapy.

              14.       In March 2017, Plaintiff began radiation therapy.




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              15.       As a result of Plaintiffs intense and overlapping treatments to save her life,

   Plaintiff’s disability was exacerbated and she was entirely incapacitated.

              16.       Through regular communications with her direct supervisor (Ms. Picton)

   and her human resources representative (Ms. Birnbaum), Plaintiff informed Defendant of the

   physically and mentally debilitating effects of her disability and treatment, including, without

   limitation, the bilateral mastectomy, the ongoing chemotherapy treatment, and the ongoing

   radiation therapy. Plaintiff specifically informed them that she was temporarily unable to work.

   See written communications between Plaintiff and Ms. Picton in her capacity as a Manager for

   General Dynamics attached hereto as Exhibit “B”.

              17.       By and through its agents and/or authorized employees, Defendant

   recognized and accepted Plaintiff’s medical leave, verbally and in writing. See Exhibit “B”.

              18.       Ms. Picton assured Plaintiff multiple times over the course of her cancer

   treatment that Plaintiff’s employment position would remain open until after Plaintiff

   completed her cancer treatment. She did not, however, provide or grant reasonable

   accommodations to Plaintiff because Plaintiff was incapacitated at that time. Plaintiff was

   under the reasonable impression that Ms. Picton was aware of the severity and effects of breast

   cancer and the intense treatment and surgeries that Plaintiff was undergoing. See Exhibit “B”.

              19.       Ms. Picton’s communications with Plaintiff also indicated that Defendant

   had ample work available and a continuing need for Plaintiff’s services. See Exhibit “B”.

              20.       Defendant did not object to Plaintiff’s continuing and uninterrupted

   medical leave, and it did not provide any accommodations for Plaintiff’s disability at any point

   during her treatment.




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              21.       On or about November 7, 2016, while still on medical leave and in the

   midst of receiving debilitating radiation and chemotherapy treatments, Plaintiff received a

   package in the mail from Defendant. Plaintiff later learned that the package contained

   information regarding her medical leave and an extension of same.

              22.       In her physical and mentally impaired state, the effects of her disability,

   Plaintiff was unable to review the documentation. No one from Defendant called her to explain

   the contents of the package.

              23.       To understand the contents of the package, Plaintiff telephoned her HR

   representative, Ms. Birnbaum, requesting an explanation of the package and asking if any

   action need to be taken.

              24.       Ms. Birnbaum stated that the Defendant recognized Plaintiff’s need for

   extended medical leave, that such medical leave was granted, and that no additional action was

   necessary. Plaintiff relied on her HR representative’s representations and did not respond in

   writing to the written request.

              25.       On or about March 8, 2017, Plaintiff called Ms. Birnbaum to inform her of

   the status of her treatment and to discuss returning to work, including, without limitation,

   reasonable accommodations pending full recovery and a full time return to work.

              26.       During the conversation on March 8, 2017, Ms. Brinbaum stated that “she

   had dropped the ball” because she had not called Plaintiff to inform her that Ms. Attia, another

   manager at General Dynamics, had terminated Plaintiff without providing any notice and

   without regard for the medical leave granted by Ms. Picton, Plaintiff’s direct supervisor, and

   affirmed by the HR department.




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              27.       Plaintiff was summarily terminated without notice to Plaintiff, without

   providing reasonable accommodations, and despite Plaintiff’s continuing qualifications and

   ability to perform the work.

              28.       Based on information and belief, General Dynamics had and continues to

   have sufficient work that Plaintiff is qualified to perform and that she performed to the

   satisfaction of her supervisors while employed by the Defendant.

              29.       Based on information and belief, Defendant has a steady workflow of

   investigative and fraud detection cases indicating that Plaintiff’s position could have remained

   available to her without undue hardship to Defendant. Moreover, reasonable accommodations

   could have been made without undue hardship to the Defendant.

              30.       Based on information and belief, Defendant hired multiple fraud

   investigators following Plaintiff’s improper termination, demonstrating ongoing availability of

   work for Plaintiff and that there would be no undue burden to Defendant had Plaintiff’s

   position remained open until after Plaintiff recovered sufficiently from her disability.

              31.       Defendant, by and through its authorized agent(s), terminated Plaintiff’s

   employment because of her disability.

                                COUNT I:
  DISABILITY-BASED DISCRIMINATION IN VIOLATION OF THE AMERICANS WITH
                 DISABILITIES ACT OF 1990, 42 U.S.C. § 12112

              32.       Plaintiff incorporated and re-alleges paragraphs 1-31 as if fully set forth

   herein.

              33.       At all times relevant hereto, Plaintiff suffered from a disability as defined

   by 42 U.S.C. §12102.




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              34.       Defendant’s decision to terminate Plaintiff was a direct violation of 42

   U.S.C. §12112(b)(5)(A) because it discriminated against Plaintiff with respect to the terms,

   conditions, or privileges of employment based Plaintiff’s disability, which was unrelated to

   Plaintiff’s ability to perform her duties as a fraud investigator.

              35.       Defendant did provide reasonable accommodations for the Plaintiff to

   allow her to perform her duties.

              36.       Defendant could have provided such reasonable accommodations to the

   Plaintiff without any undue hardship.

              37.       As a direct and proximate result of defendant’s discrimination, Plaintiff

   has been deprived of economic and noneconomic benefits, including, but not limited to, lost

   wages, pain and suffering, mental anguish, loss of dignity, and loss of fringe benefits.

              38.       Defendant’s conduct was willful and wanton and deprived Plaintiff of her

   rights as guaranteed under the Americans with Disabilities Act, thus entitling Plaintiff to an

   award of exemplary damages.



        Wherefore, Plaintiff demands judgement against Defendant:

 (a) declaring that the conduct engaged in by defendant and its management to be in violation of
 plaintiff's rights;

 (b) awarding Plaintiff equitable relief of back salary and fringe benefits up to the date of
 judgment;

 (e) awarding plaintiff compensatory and punitive damages pursuant to the Americans with
 Disabilities Act;

 (f) awarding plaintiff emotional distress damages, lost benefits and prejudgment interest;

 (g) awarding plaintiff costs and reasonable attorney's fees; and,

 (h) granting such other relief as the Court may deem just and proper.


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                                          JURY DEMAND

         Plaintiffs demand a trial by jury on all claims, defenses, and issues so triable in this entire
 case.

                                                Respectfully Submitted,

                                                ALAYON & ASSOCIATES, P.A.
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